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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
HANNIBAL WHEATLEY, on behalf of himself and all :
others similarly situated,                                             :
                                                                       :
                                    Plaintiff,                         :             24-CV-07300 (JMF)
                                                                       :
                  -v-                                                  :                    ORDER
                                                                       :
DNP-Y, INC. d/b/a FRESHLY BAKED NYC 2; and                             :
DNP-Z, INC d/b/a FRESHLY BAKED NYC,                                    :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X

JESSE M. FURMAN, United States District Judge:

       Plaintiff alleges that Defendants’ websites are not accessible to blind and visually impaired
customers and, thus, violate Title III of the Americans with Disabilities Act (“ADA”), 42 U.S.C.
§ 12181 et seq. In the Court’s experience, cases involving such claims almost always settle, often
even before the initial pretrial conference. To that end, by separate Order to be entered today, the
Court is referring this case to the assigned Magistrate Judge for General Pretrial Purposes,
including settlement. To be clear, the referral does not encompass any dispositive motions,
which will be handled by the undersigned in the normal course.

        SO ORDERED.

Dated: September 30, 2024                                  __________________________________
       New York, New York                                           JESSE M. FURMAN
                                                                 United States District Judge
